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                                                              January 25, 2018
VIA ECF
Honorable Valerie E. Caproni
United States District Judge
40 Foley Square
New York, New York 10007

Re:    United States v. Stanislav Lisov
       17 Cr. 048 (VEC)

Dear Judge Caproni:

    I write to respectfully request that the Court relieve the Federal Defenders of New
York from representing Stanislav Lisov on the above-captioned matter. Mr. Muratov has
recently retained a private attorney, Arkady Bukh, to represent him.

    In the past few days, I received a very limited amount of documentary discovery
relating to Mr. Lisov’s case. I will provide Mr. Bukh a copy of what I received. I did not
agree to the government’s proposed protective order governing certain discovery
materials because I understood that Mr. Lisov wished to retain counsel and wanted to
leave that issue to the new attorney to resolve.

    In light of Mr. Lisov’s retainer of Mr. Bukh, and with the government’s consent, I
respectfully request that I be relieved as the attorney of record for Stansislav Lisov and
excused from the conference scheduled for tomorrow, January 26 at 3 PM.




                                              Respectfully submitted,

                                              /s/Annalisa Mirón
                                              Annalisa Mirón
                                              Assistant Federal Defender
                                              (212) 417-8780




cc:    AUSAs Michael Neff and Richard Cooper (via ECF)
